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THE HONORABLE JAMES L. ROBART

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON

AT SEATTLE

CYWEE GROUP LTD.,
Plaintiffs,
V.

HTC CORPGRATION, and HTC AMERICA,
INC., `

Defendants.

 

HTC CORPORATION, and HTC AMERICA,
INC.,

Third-Pax“cy Plaintiffs,
v.
STMICROELECTRONICS N.V.,
STMICROELECTRONICS, INC., and CYWEE
MOTION GROUP LTD.,

Third-P atty Defendants.

 

 

CaSe NO.: 2117-cV-00932-JLR

0RDER GRANTING THIRD-PARTY
DEFENDANT STMICROELECTRONICS,
INC.’S MoTION TO DISMISS
PURSUANT TO RULE 12(b)(6)

{%M@Qs@q?
N<)TE ON 1\/101101\1 CALENDAR;
APRIL 20, 2018

 

ORDER GR_ANTING
_ STI\/HCROELECTRONICS INC'S MOTION TO DISMISS
CASE NO.: 2:17-CV-00932-JLR

Shearman & Sterling LLP
1460 El Camino Real
Menlo Park, CA 94025
Tel: 650-838~3737

 

 

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This matter CAl\/[E BEFORE THE Court on third-party defendant STl\/licroelectronics,
D-Q»f-%v\d\mv\~ls mind Tv\\rol~?m P\Km+t%ts 0\<> nwt oppose +\/tt motion t
Inc.’s (“ST lnc.”) Motion to Dismiss Pursuant to Rule 2(b)(6)./{{aving considered the motion, (

the arguments in support thereof, and the pleadings and files on record herein, the Court hereby
ORDERS that ST lnc.’s l\/Iotion to Dismiss is GRANTED. Third-party plaintiffs HTC §
Corporation’S and HTC Ainerica, lnc.’s claims against ST Inc. are DISMISSED Wl"l`H
PREJUDICE.

IT IS SO OIU)ERED.

d hi QBR© f §le ` QAB`AX
Date t 's‘_'dayo .§\ 2018 4

HONO LE JAl\/[ES L. ROBART
UNITED TATES DISTRICT JUDGE

Presented by:

s/ Brian G. Bodine _
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S/ Matt Berkowitz

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Az‘torneysfor Defenclant
STMicroelectrom‘cS, Inc.

 

 

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STMICROELECTRONICS INC’S MOTION TO DISMISS Shearman & Sterling LLP
CASE .\IO,: 2:17-CV-OO932~JLR - l - 1460 El Caini.no Real
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Case 2:17-c\/-00932-JLR Document 641-l Filed 03/26/18 Page 3 013

CERTIFICATE OF SERVICE
1 hereby certify that on l\/larch 26, 2018, l filed the foregoing With the Clerk of the Court using the
Cl\/l/ECF system, and served all parties via ECF.

Dated: March 26, 2018

s/ Matt Berl<owitz

Matt Berkowitz

 

 

{Y-R@MB`] ORDER GRANTING
STMICROELECTRONICS INC’S MOT[ON TO DISMISS Sheannan & Sterling LLP
CASE NO,: 2117-CV-OO932-JLR - 2 - 1460 El Camino Real
Menlo Park, CA 94025
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